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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


PEN AMERICAN CENTER, INC.,
                                                              Civil Action No. 18-cv-9433-LGS
                                    Plaintiff,
         v.                                                     MEMORANDUM OF LAW IN
                                                                SUPPORT OF MOTION FOR
DONALD J. TRUMP, in his official capacity as                    LEAVE TO FILE AMICUS
President of the United States,                                 CURIAE BRIEF

                                    Defendant.




                                            INTRODUCTION

         The amici curiae (“Amici”)1 listed below respectfully submit this Memorandum of Law

in support of their unopposed Motion for Leave to File Amicus Curiae Brief. A copy of the

Proposed Amicus Curiae Brief of Tenured Professors in Support of Plaintiff Pen American

Center, Inc.’s Opposition to Defendant President Donald J. Trump’s Motion to Dismiss the

Amended Complaint is attached as Exhibit A to the Declaration of Richard Schwed.

                                                 ARGUMENT

    I.   This Court Has The Inherent Authority To Allow Amicus Participation

         There is no governing standard, rule or statute prescribing the procedure for obtaining

leave to file an amicus curiae brief in the district court. Lehman XS Trust, Series 2006-GP2 v.

Greenpoint Mortg. Funding, Inc., 12 Civ. 7935, 2014 WL 265784, at *1 (S.D.N.Y. Jan. 23,



1
 The Amici are Ruth Ben-Ghiat, Professor of Italian and History at New York University; Kim Lane Scheppele, the
Laurance S. Rockefeller Professor of Sociology and International Affairs at the Woodrow Wilson School and in the
University Center for Human Values at Princeton University; Seyla Benhabib, the Eugene Meyer Professor of
Political Science and Philosophy at Yale University; Aziz Huq, the Frank and Bernice J. Greenberg Professor of
Law at the University of Chicago Law School; and Samuel Moyn, the Henry R. Luce Professor of Jurisprudence and
Professor of History at Yale University.
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2014). This Court has “‛broad discretion to permit or deny the appearance of amici curiae in a

given case.’” Micula v. Gov’t of Romania, No. 15 Misc. 107, 2015 WL 4643180, at *1

(S.D.N.Y. Aug. 5, 2015) (Schofield, J.), (quoting United States v. Yaroshenko, 86 F. Supp. 3d

289, 290 (S.D.N.Y. 2015)). Amicus curiae submissions should normally be accepted where they

provide “unique information or perspective that can help the court beyond the help that the

lawyers for the parties are able to provide.” Auto. Club of N.Y., Inc. v. Port Auth. of N.Y. & N.J.,

11 Civ. 6746, 2011 WL 5865296, at *2 (S.D.N.Y. Nov. 22, 2011); accord Micula, 2015 WL

4643180, at *1.

 II.   The Amici Offer This Court Historical Perspectives and Insights That Are Not
       Available From the Parties

       The Amici here are tenured professors at universities in the United States who have

dedicated their academic and professional careers to studying democratic systems and the decline

of, and threats to, democracies. As experts in their field, they have studied numerous

democratically elected, populist leaders who have employed an autocratic “playbook” to

undermine freedom of the press, allowing the leaders to consolidate power and cause democratic

“back-sliding” in their respective nations. The proposed amicus curiae brief provides this Court

with a unique and important perspective on the use of the playbook in other countries, how the

playbook has caused the decline of the free press and democracy in those countries, and how

President Donald J. Trump is using a similar playbook to stifle the press. The Amici have a

professional interest in seeing the Court protect the First Amendment and the free press, which

historically has played an important role in keeping the government accountable.

III.   The Parties Do Not Oppose the Filing of the Amicus Curiae Brief

       We have conferred with counsel for the parties to the action, and they do not oppose the

filing of the proposed amicus curiae brief.



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                                         CONCLUSION

       For the foregoing reasons, the Amici respectfully request that the Court grant this Motion

for Leave to File Amicus Curiae Brief.



Dated: New York, New York
       May 10, 2019
                                                            SHEARMAN & STERLING LLP

                                                            By: /s/ Richard Schwed

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